Case 3:08-cV-00282-GP|\/|-P|\/|F Document 47 Filed 03/05/10 Page 1 of 2 Page |D #184

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF ILLINOIS

PAUL DILLON and TAMMY DILLON,
Plaintiffs,
vs.
JERRY ZANG, M.D., ILLINOIS-
INDIANA EM-I MEDICAL SERVICES,
S.C., a corporation, and

THE UNITED STATES OF AMERICA,

Defendants.

NO. OS-ZSZ-GPM

STIPULATION FOR DISMISSAL

Come now the plaintiffs, Paul Dillen and Tammy Dillon, by their attorney, Thomas Q.

Keefe, Jr., and the defendants, Jerry Zang, M.D. and IllinoiS-Indiana EM~I Medical Services,

S.C., by their attorney, Ted Harvey, and the defendant, The United States of America, by its

attorney, James L. Porter, and stipulate and agree that the above styled matter may be dismissed

with prejudice to the plaintiff, at the cost of the respective parties.

/

 

%HOMAS Q. KEEFE, JR.
#6 Executive Woods Court
Belleville, IL 62226
ATTORNEY FOR PLAINTIFFS

 

 

TED RV'EY
Freeark, arv , Mendillo, De is, Wuller,
Cain & Murphy, P.C.

115 W. Washington St., P.O. Box 546
Belleville, IL 62222

ATTORNEY FOR DEFENDANTS,

JERRY ZANG, M.D. and ILLINOIS-
INDIANA EM-I MEDICAL SERVICES, S.C.

Case 3:08-cV-OO282-GP|\/|-P|\/|F Document 47 Filed 03/05/10 Page 2 of 2 Page |D #185

S" . R
ASSistant United States Attorney
Nine Executive Drive
Fairview Heights, IL 62208
ATTORNEY FOR DEFENDANT,
UNITED STATES OF AMERICA

Certificate of Service

I hereby certify that on the 5 day of Mg rr/i’\ , 2010, 1 electronically filed

the Stipulation for Disrnissal With the Clerk of Court using the CM/ECF System which Will send
notification of such filing to the following:

Thomas Q. Keefe, Jr.
debbie@tqkeefe.com
Az‘tomey_)?;)r Plaintijj@

J ames L. Porter
jim.porter@usdoj.gov

J. Christopher Moore
chris.rnoore@usdoj.gov
Attor'neyfor Dej%ndants,
Um`ted States ofAmerica

and l hereby certify that l mailed by United States Postal Service, the document(s) to the
following non-registered participants
none

Respectfully Submitted,

 

s/Ted Harvey
TED HARVEY #1 149407
115 West Washington Street
P.O. Box 546

Belleville, IL 62220
618-233-2686

618-233-5677 (fax)

e-mail: tharvey@freeark.corn

